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                         BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX Cryptocurrency Exchange                                MDL Docket 3076
Collapse Litigation


                            SCHEDULE OF ACTIONS

      Case Captions               Court             Civil Action No.         Judge

Plaintiff:                 United States District    8:23-cv-01969      Judge Paula Xinis
 • Edwin Garrison              Court for the
 • Gregg Podalsky          Southern District of
 • Skyler Lindeen               Maryland
 • Alexander Chernyavsky
 • Sunil Kavuri
 • Gary Gallant
 • David Nicol

Defendant:
 • Brian Jung
